Case 1:23-cv-00108-LMB-JFA Document 841-7 Filed 06/14/24 Page 1 of 5 PageID# 20202




                               Lim Ex. N
          (Google’s Proposed Redactions)
Case 1:23-cv-00108-LMB-JFA Document 841-7 Filed 06/14/24 Page 2 of 5 PageID# 20203




                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA




   UNITED STATES OF AMERICA, ET AL.,
               Plaintiffs,

         v.                                     Case No. 1:23-cv-00108 (LMB/JFA)

   GOOGLE LLC,
               Defendant.




                        EXPERT REPORT OF MARK A. ISRAEL


                                    January 23, 2024




                                HIGHLY CONFIDENTIAL
                             SUBJECT TO PROTECTIVE ORDER
Case 1:23-cv-00108-LMB-JFA Document 841-7 Filed 06/14/24 Page 3 of 5 PageID# 20204
Case 1:23-cv-00108-LMB-JFA Document 841-7 Filed 06/14/24 Page 4 of 5 PageID# 20205

               HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


  DVAA P&L with AdMob excluded,”

                                      591   Because economic profits are generally smaller than

  accounting profits (because of the consideration of opportunity costs in calculating economic

  profits),592 the most natural interpretation of this finding is that Google’s ad tech business also

  experienced economic losses during that period, which clearly points against Google possessing

  substantial and sustained market power.

  431.   In short, although Prof. Lee and I appear to agree that there are significant limitations in

  inferring market or monopoly power from accounting measures, if anything, the evidence from

  those measures is much more consistent with my conclusion that Google faces vibrant and

  ongoing competition than Prof. Lee’s conclusion that Google possesses substantial and sustained

  market power.

         G.       SUMMARY

  432.   The bottom line conclusion from the evidence described above—regarding estimates of

  Google’s market share (Section V.B), advertiser and publisher multi-homing (Section V.C), case

  studies of ongoing competition (Section V.D), Google’s investments in response to competition

  (Section V.E), and accounting margins (Section V.F)—is that Google does not possess

  monopoly power in any relevant market, nor does it have a “dangerous probability” of obtaining

  it. Instead, the evidence demonstrates that Google faces ongoing intense competitive pressure

  from numerous sources. I address certain other evidence that Plaintiffs’ expert Prof. Lee

  presents as supposed evidence of Google’s alleged substantial and sustained market power in


  591    Respess Report, ¶ 98 and Figure 28. See also GOOG-DOJ-28502334 at -334 (“
                                            ).
  592    See, e.g., Besanko et al. (2013), p. 20 (describing that economic profits are equal to accounting
         profits minus opportunity costs).


                                                   318
Case 1:23-cv-00108-LMB-JFA Document 841-7 Filed 06/14/24 Page 5 of 5 PageID# 20206

               HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


  840.   Second, even if, counterfactually, Google’s conduct did lead to higher advertising prices,

  advertising costs do not generally translate into higher prices for the advertised products. For

  example, in standard price-setting models, the cost of advertising does not appear in the firm’s

  first-order conditions because it does not vary with output. 1321 In this scenario, an increase in the

  cost of advertising may cause the firm to reduce its use of advertising, but would not change the

  price of the product(s) it is selling. Prof. Lee’s caution in stating only that retail prices can be

  higher (even under the mistaken premise that advertising costs are higher) is thus warranted.1322

  Prof. Lee presents no economic model or empirical analysis to demonstrate that higher

  advertising costs, even if they were to occur, would be passed on to consumers or to what degree.




  _______________________________
  Mark A. Israel
  January 23, 2024




  1321   Hal Varian (2022), “Advertising Costs and Product Prices,” Journal of Law and Economics,
         65(6): S419-S431. See also Lee Report, ¶ 842 (“The extent to which they do so depends on the
         nature of competition and the characteristics of costs and demand for the product.” (citing Jeremy
         I. Bulow and Paul Pfleiderer (1983), “A Note on the Effect of Cost Changes on Prices,” Journal
         of Political Economy, 91(1): 182-185; and E. Glen Weyl and Michal Fabinger (2013), “Pass-
         Through as an Economic Tool: Principles of Incidence under Imperfect Competition,” Journal of
         Political Economy, 121(3): 528-583)).
  1322   Lee Report, § VIII.B.2 (“Higher fees charged for open-web display advertising can lead to higher
         retail prices.” (emphasis added)).


                                                   592
